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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 06-671V
                                    Filed: November 26, 2014

* * * * * * * * * * * * * * * *                               UNPUBLISHED
MELISSA ATWOOD, personal              *
representative of the Estate of AIDEN *                       Special Master Hamilton-Fieldman
DRAKOSE EXAVIER FOLLETT,              *
                                      *
               Petitioner,            *
                                      *                       Joint Stipulation on Damages;
v.                                    *                       Diptheria, Tetanus, Pertussis
                                      *                       (“DTaP) Vaccine; Haemophilus
SECRETARY OF HEALTH                   *                       Influenzae Type B (“HiB”) Vaccine;
AND HUMAN SERVICES,                   *                       Pneumococcal Conjugate Vaccine;
                                      *                       Polio Vaccine; Death.
               Respondent.            *
* * * * * * * * * * * * * * * *

Robert T. Moxley, Robert T. Moxley, P.C., Cheyenne, WY, for Petitioner.
Michael Milmoe, United States Department of Justice, Washington, D.C., for Respondent.

                                            DECISION 1

       On September 25, 2006, Melissa and Paul Follett 2 filed a petition on behalf their
deceased son, Aiden Follett, pursuant to the National Vaccine Injury Compensation Program. 3


1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  Although Melissa and Paul Follett were initially named as Petitioners, this case’s caption was
later amended to reflect Melissa Atwood as the sole Petitioner on behalf of her son, Aiden
Follett. See Order dated March 13, 2014.
3
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,

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42 U.S.C. §§ 300aa-1 to -34 (2006). Petitioners alleged that Aiden died as a result of the
administration of diphtheria, tetanus, pertussis (“DTaP”), Haemophilus Influenzae Type B
(“HiB”), Pneumococcal conjugate, and Polio vaccines on September 24, 2004.

       On November 25, 2014, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation.

        Respondent denies that Aiden suffered any injury as a result of the multiple vaccinations
he received on September 24, 2004, and denies that any vaccine was either a cause or a
contributing factor in his death. Nevertheless, the parties agree to the joint stipulation, attached
hereto as Appendix A. The undersigned finds the stipulation reasonable and adopts it as the
decision of the Court in awarding damages, on the terms set forth therein.

       The parties stipulate that Petitioner shall receive the following compensation:

       A lump sum of $67,500.00, in the form of a check payable to Petitioner. This
       amount represents compensation for all damages that would be available under 42
       U.S.C. § 300aa-15(a).

       Stipulation ¶ 8.

       The undersigned approves the requested amount for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 4

       IT IS SO ORDERED.

                                              s/ Lisa Hamilton-Fieldman
                                              Lisa Hamilton-Fieldman
                                              Special Master




42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.
4
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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